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   Lawrence Neinstein

   From:                  USCweb Visitor [webfoot@usc.edu]
   Sent:                  Friday, April 30, 2010 10:50 AM
   To:                    uphcweb@usc.edu
   Subject:               (Health Center Comment Form) Something you should know


   Comments: Hi - I was   a student/patient there from 2003 - 2005. I came to       the clinic once to
   speak with my doctor   as I had some sexual issues that were bothering me .      I was unable to
   orgasm. This doctor    was a man. I don't remember his name but I remember       what he looked
   like. He told me of    kegel exercises and told me to lay down and he would      show me .

   He put an ungloved finger in my vagina and told me to squeeze.          No nurse was in the room and
   he was not wearing a glove.

   Now older and wiser I see that this was horribly wrong and a blatant case of abuse.

   I think you should open my file up, find out which doctors I saw and report this to the
   person in charge in case this man is still working there. He may be doing worse things to
   other girls.

   If someone in charge is interested in looking into this they can contact me and I will give
   them my full name.
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   Lawrence Neinstein

   From:
   Sent:                    Saturday, May 01, 2010 6:58 PM
   To:                      Lawrence Neinstein
   Subject:                 Re: email

   oops.      I suppose my number would be a good idea .




   On May 1, 2010, at 5:05 PM, Lawrence Neinstein wrote:


   We take student concerns very very seriously. I would very much like to review your medical
   record and be able to contact you. Could you send me your full name. If you are willing
   could you also send me a contact phone number.

   Thank you for coming forward and expressing your concern .
   Larry Neinstein MD

   Lawrence S. Neinstein MD
   Professor of Pediatrics and Medicine
   Keck School of Medicine
   University of Southern California
   Executive Director, University Park Health Center Chief, Division of College Health Senior
   Associate Dean Of Student Affairs
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          Complicated Issue regarding long standing Md/gynecologist hired 20-25 years ago,

           There have been "concerns'' expressed by students at times, staff at times, fellows MDs at times.

          Interventions and discussions have taken place,

           There continue to recently be more heightened concerns from some clinicians, nursing staff and
           occasional students.




          Background: GT is trained in ob/gyn and has done ob and primary care for the entire time he has been
          at UPHC/USC. He has tendency to write 3-20 pages of concems when he has disagreement. This has
          decreased immensely as he is now very supportive of senior administration.




          Recent Student Concern:

          April 26, 2013

          Angry student met with one of our staff to review a formal complaint: Tammie Akiyoshl nursing director
          met with student in a private office. She Identified herself to me and gave me her USC ID number;
          however requested not to have her name In the formal complaint. Student began by stating she was
          "hesitant to come back" after her visit last year. When asked why, she stated she felt uvery
          uncomfortable" and "not listened to" during her appointment with Dr. Tyndall. She went on to say that
          he udldn't actually do anything to me, but it was his tone and the way he was looking at men that made
          her question if "maybe I Imagined it?" and hence "that's why it took so long'' to return. The student
          presented for UTI symptoms and after she was given the plan for trea.tment, she was told that she
          "shouldn't leave" and there was a few more minutes left in her appointment time. The student told Dr.
          Tyndall that she was late for an appointment and he responded "what is more Important than your
          health?" He went on to state "are you sure you don't need a PAP smear?" and that he could uget (her)
          started at USC' . The student replied that she had a PAP smear 2 months prior.

          He then discussed his ubeautiful wife" who is a "'Filaplna", and that he did an "internship at Kaiser'' and
          he finds "women so attractive" and he "really liked his job because he liked to help women". The
          student said these statements gave her the "sceevies" and I "never want to see him again."




          Friday 4/30/2010 em all to comments on web site:

          Comments: Hi - I was a student/patient there from 2003 • 2005. I came to the clinic once to speak with
          my doctor as I had some sexual Issues that were bothering me. I was unable to orgasm. This doctor was
          a nian. I don't remember his name but I remember what he looked like. He told me of kegel exercises
          and told me to lay down and he would show me.
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          He put an ungloved finger In my vagina and told me to squeeze. No nurse was In the room and he was
          not wearing a glove,

          Now older and wiser I see that this was horribly wrong and a blatant case of abuse.

          I think you should open my file up, find out which doctors I saw and report this to the person In charge
          In case this man Is stlll working there. He may be doing worse things to other girls.

          If someone in charge is interested In looking into this they can contact me and I will give them my full
          name.




          Email back to         on 5.1.2010



          We take student concerns very very seriously. I would very much like to review you r medical record and
          be able to contact you, Could you send me your full name. If you are willing could you also send me a
          contact phone number.

          Thank you for coming forward and expressing your concern.

           Larry Neinstein MD
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          Tuesday 5.4.2010

          Talked with student:                  and confirmed this was Dr. tyndall, In chart he was the only male
          to do a gyn exam. I discussed with         that since 2004 we have required a female chaperon in the
          room with all female patients for any sensitive exam. I discussed that the physician Involved did
          document her concern, i.e. sexual dysfunction and his approach to teach her kegel exercises and what
          he was doing. I told her I would also express her concern to the physician but not use her name. she
          felt this was appropriate and she was relieved with our approach.

          Same day I reviewed chart and the chart clearly indicated her concern, clearly reviewed what he was
          doing, I.e. discussion and teaching her via photos and text Kegel exercises and demonstrating that the
          muscles that were Involved.

          Same day I read the concern to the physician. He indicated he never would do this exam without a
          female In the room as chaperone and he would never do an exam with an ungloved hand.

          Same day I also reviewed the above with Claudia Borzutzky and that I felt that at this point that this
          particular event was closed but would be documented in case there were any further Instances.



          11.11.2009

          Received concern from student regarding In march GT commented to exam about her pubic hair and the
          nice laser procedure. She was upset with this but took months to sent something in.

          I.spoke with George and recommended that If he was going to talk about pubic hair and find out was the
          student not having hair from medical Issue or laser or other method to do this when students was
          dressed. And If he found someone who might have a good procedure that could be recommended to
          other students he would phrase it this way.

          He understood



           gt                   6.2.2002                       : student positive CT 3/2002 and not treated but chart
                                                    and lab signed off, treated later

           gt                   6.6.2002            cannot ready lab signature or dictation signature

           gt                   9.10.2003          brought up that once again GT not allowfng Mas to be behind curtain
                                                   when chaperoning md during pelvic exams, told once before,
                                                   bill will document and tell once again

           GT                   12.10.2003          student complained about GT and how fast he Is and that exam
                                                    hurt, he was not going to see her even though she was on time
                                                    she was feeling ver; negative about exam and his skill,s menUoned that
                                                    MA was moved behind curtain
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           gt             12/12/2003 discussed with gt about the student above, he did not remember student
                                     also went over his room and explained that curtain needs to be open
                                     enough
                                     that there Is no perception by student or MA that it it closed.
                                     he understood.

                                     student emailed bemadette since GT talked with other patients while
           gt              12/1/2004 patient
                                     In room. This Included discussions of their name and dx. Student
                                     mentioned
                                     that their were two patients that this occurred with
                                     BL spoke with GT who said he does not remember doing this and
                                     during a refill would not mention on speakerphone a dx or name and
                                     that usually Mas do not put calls through.

           gt              3/25/2005   discussed with BL and GT that we could not accommodate during the
                                       semesters fall/spring unpaid leave arranged more than one month In
                                       advance. Visits have Increased and this would be unfair to other
                                       clinicians. GT stated he understood and Is not taking unmpald leave
                                       and would submit his vacation requests.
                                       in addition he was upset about the way BL discussed some of these
                                       Issues with him in hall way. We discussed that briefly together
                                       and I discussed that with BL
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                                                   #6 November 4, 2010 COi                    Picked up 10/13/10@ 8:00 AM from
                                                     (October Comments)                           front reception comment box
    Tr1fJ Univers;ty Park Health Center {UPHC) is intor-estecl 1n providing you with H,o tiest possrb!e medic.a! care
    during your years at USC. The fol;owing questionnaire will h0ip us identily wriat you think wo are doing well
    and where we need to improve your ()are.




    2.        How satisfied were you 1Nith the appointment system''
                     ( } Very Satished                 t:4 Satisfied                                          ) Dissatlsflc:d

    3.        How satist.ed were you with U,e sign-in process?
                        ( ) Very Satlstiec                               {x) Satisfied                        } Oissatlsfo,Kl
    4.        How satisf\ec! were yc,u with your <~rG01.inter wi1h the rnedica1 assistants?
                        ( ) Very Satsfied                                ( ) Sal/stied                   )"(]Oissatisf ed
    5.        How satisfied were you with your encounter with the nurses RN's, L. VN's?
                        ( ) Very Satisfied                               { ) Sa1isfied                        ) Dissat sfied
    6.                               NiU1 your enco·unter ·t,ith the Laboratory?
              How satisfied were you ~
                        ( ) Very Satisfied                               { ) Satisfied                    (   1D issatisfied
    7.        How satisfied were you w!!h your orcounter with the ><•Ray Department?
                     { ) Very Satisfied              { ) S&;tistied          ( ) Oissat:sfied
    B.        How satisfied were you with your encounter with Physical Therapy?
                     { ) Very Satisfied              ( ) Satisfied           ( ) Dissafsfoci
    9,        How satisfied were you with your encounter with the Cashier?
                     ( ) Very Sa tisfied             ( ) Satisfied                                        ( ) Dissatisfied
     10,      How saliStiod worn you wJh your encounter ·.-v1th the medical practition1cir M.fL P.A.C ?
                     i ) Very Satisfied             { ) Sa.tisfiet1             ( ) Oissats!ied
     1 1. Did !he practitioner:

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                                                                                                                                        No
                        Pay attention l o your r;oncerns and worries?                                     ( ) Yes                I   ) No
                        Inform you about your problem ,:in d disease'?                                    ( ) Yes               .t·' 9 No
                        Expla in procedures ano treatment?                                                { } Y"es               ( ) No
                        lnstrui-;1 you about your continuing care?                                        (   } Yes              { )    No
    Tha1k ycu      taking the time to evaluate our perl orrnance, If you would llke to further describe your expm•iences
                  1or

    with u:s, would you p lease do so below. If you have spec ia l concerns you woulc.! like to discuss, oioase ieavo yciur
    na,me, telephone number, datf) and tme of your visit and lhe best time to conta.ct you.
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               April 26, 2013




               Requested by Corinne Ash to speak with an angry student who wanted to submit a complaint.
               Met with student In a private office. She Identified herself to me and gave me her USC ID number;
               however requested not to have her name In the formal complaint.


               Student began by stating she was "hesitant to come back" after her visit last year. When asked why, she
               stated she felt "very uncomfortable" and "not listened to" during her appointment with Dr. Tyndall. She
               went on to say that he "didn't actually do anything to me, but It was his tone and the way he was
               looking at me" that made her question if "maybe I imagined It?"' and hence "that's why it took so long"
               to return. The student presented for UTI symptoms and after she was given the plan for treatment, she
               was told that she "shouldn't leave" and there was a few more minutes left in her appointment tlme.
               The student told Dr. Tyndall that she was late for an appointment and he responded "what is more
               Important than your health?" He went on to state "are you sure you don't need a PAP smear?" and that
               he could "get (her) started at USC". The student replied that she had a PAP smear 2 months prior.

               He then discussed his "beautiful wife" who is a "Fllaplna", and that he did an "Internship at Kaiser" and
               he flnds Hwomen so attractive" and he "really liked his job because he liked to help women". The
               student said these statements gave her the Hsceevles" and I "never want to see him again."




               The student presented today for an appointment she made on line. She was called back by the health
               center to change her appointmen·t from a regular appointment to a women's health appointment.
               When given the time options, she took the latter of the three choices and informed the person that she
               would be late. They replied that they were aware and to arrive as soon as she could.

               As she was driving, she called to say she was 20 minutes away. (her appointment was In 10 minutes).
               The person who answered the phone informed the student to continue and she would be seen.
               When she arrived at the health center, the receptionist told her she was late and Ms Adachi Hscolded"
               her for being late. Ms. Adachi went on to explain that when one patient is late, then It backs up all the
               other patients and she was not Informed that the patient called and was going to be late. Ms. Adachi
               later apologized after the student asked if she could just receive treatment for her symptoms and she
               will see Donna Beard for an exam. The student did not want to submit a complalnt regarding Ms. Adachi
               for she felt they reconciled after the apology.

               The student Interjected that "Donna Beard rocks" .                 {).    ~ lu._ ~ { )
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           Complalnt:

           When taking her specimens to the lab, she approached the area and the "2 ladles were on the phone",
           The patient signed In and "waited for 10 minutes for them to finish their conversations", After the
           phone conversations, they began to speak In Spanish how "frustrated (the cashier) was not to have a
           break". The student could hear the cashier on the phone stating that there was no one to cover her and
           there was a patient present. The cashier response was "ok, I guess I have to take care of this
           student/patient''. The student felt that she was a "bother" to the cashier.

           Addltlonally, when the lab personnel took her specimen, she opened the bag and viewed the specimen
           and replied "oh..., oh ......, ok...... "while making a face, The student stated that this was the same lab
           personnel that after her last visit, she went to the lab and the employee was Instructing her how to give
           a urine sample. The area was very congested with lots of students waiting for lab tests. When the
           student asked if the lab employee could ask the students to stand back, the employee replied "they
           don't speak English anyways".

           The student stated "this Is crappy customer service" and wanted to know what will be done. She would
           be "returning In a week" and doesn't "want to be treated like this again",

           I Informed her that we take her complaints seriously and they would be addressed.




           Respectfully submitted,

           Tammie Aklyoshl
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       Memo:

      George this is summary of the meeting you had with Dr. Leavitt and me on 6.27.2013.1indicated that Bill
      and I needed to review some issues that have come up from comments of students and nursing staff. I
      explained that these are in context of the prior concern listed here as well.




      IN 2003 we spoke about you not allowing medical assist ants to be on the examining side of the curtain
      during an exam as well as a couple of other concerns from students. I explained that we deal with a
      highly vulnerable population, adolescents and young adults, and t hat women's health can be a
      particu larly sensitive area.

      In April 2010 we had discussed a student who was concerned about you examining them with ungloved
      finger. You indicated then and now that this did not occur.

      In Apri, 2013 who filed a formal complaint and she was particularly concerned about her feeling that
      you discussed yo ur "beautiful wife" who is "Filapina" and that you find "women so attractive". The
      student felt very uncomfortable with these comments. I know that you felt you did not say any of these
      comments.

      I then explained that our nursing director and I met individually with nursing staff about our women's
      hea lth program in general and any feedback about things that made them comfortable or
      uncomfortable and we request ed feedback on what things made the students comfortable or
      uncomfortable. I indicated to you t hat almost all of the concerns were about things you did during the
      women's health visits.

      I reviewed the following concerns regarding areas needing improvement:

      1) Support: Whereas other women's hea lth providers here and elsewhere want the MA to hold
      students hand and support the student through their anxiety, th eir underst anding is that you do not
      want them to talk do the student during t he exam or help them w ith their discomfort unless asked t o.

      2) Door locking: Nursing staff and st udents expressed discomfort about being locked in your office. I
      indicated that this is not good practice and should be stopped immediately. It is fine to lock your door
      when you leave the room on break or lunch et c.

      3) Too personal: I mentioned that several stud ents don't want to see you back as they felt you are too
      personal and t hey were uncomfortable with you .

     4) Racially sensitive Comment: I mentioned that of great concern was the comment below stat ed by a
      nursing st aff that you sa id o n three occasions.

     " Latinos are taking ove r and its going to be a recognist a (take over)
     Once to group of M as o ne w ho said: isn't that racist"
     Once w ith MA and student student said she was stu nned and felt uncomfortable In exam room:
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       You indicated this was in context of a student statement about race and I mentioned, we cannot be
       saying racial statements like this in the workplace PERIOD.

       5) Other statement: I reviewed the comment by a couple of students who were uncomfortable about
       being asked "how would you feel if I asked you today if you looked nice" wou ld you think that is sexual
       harassment? One said: not offended, one said yes a slippery slope and thought this was very odd.
       I i_
          ndicated that this was potentially crossing a sensitivity line and is inappropriate. He should always
       avoid discussing a student looking nice especially in the context of a women's health visit or other
       medical appointment.

       6) Survey passed out:

      Nurses felt you passed out surveys. You denied this and I mentioned that any surveys passed out need
      approva l of Executive Committee.

      7) Patient handouts:

      Nurses fe lt you passed out and zeroxed extensive handouts. You showed an example which was an
      extensive long page handout with consent signatures for OCPs. I indicated that we don't requi re
      consent but all forms like this need approval of our form committee and the same is true of patient
      education material

      8) Late policy: Nurses were concerned that you would not see a patient in person if they were within
      the 20 minutes of their appointment. You indicated you always talked with them. I indicated that
      making a phone call from across the hallway was not acceptable and you should be meeting with them
      one on one.

      I explained to you that we would review these items again at the end of the summer. I suggested that
      getting some coaching in these areas from Center for Work and Family Life would be a good thing. You
      w ere willing to do this. I indicated for a couple of these comments, I had to let Equity and Diversity be
      aware and they proceed with their normal procedure.

      In summary: I hope that you understand that these concerns arose from both students and staff. We
      value your contributions and hope that you can avoid these perceptions from students and staff as well
      as a few other changes we recommended above. We will follow-up at the end of summer. If you decide
      t o get coaching to help avoid misinterpretation of your comments from staff or students, you can call
      the Center for Work and Family Life and ask to talk with for John Gaspari. Note that any coaching is
      voluntary and the goals are set by you and any commun ication to me is up to you and not mandatory.
      Please be aware that failure to make changes in job performance in these areas in our patient care
     environment could result in disciplinary action . I am confident that you can improve your performance
      in these areas.
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       Meeting with Dr. George Tyndall with Dr. Larry Neinstein and Dr. Bill Leavitt (lead Physician)

       I mentioned t o Dr. Tyndall that I needed to review some issues that affect patient comfort and some
       were difficult areas. I explained that this comes in context also of prior issues from 2003 about not
       allowing medical assistants t o be on the examining side of the curtain during an exam as well as a couple
       of other concerns from students. I explained that we deal with a vulnerable population, adolescents and
       young adults and that women's health can be a particularly sensitive area.

       I started with reviewing some past issues and reports including:

       11.11 .2009

       Received concern from student regarding in march GT commented to exam about her pubic hair and the
      nice laser procedure. She was upset with t his but took months t o sent something in.

      I spoke with George and recomme nded that if he was going t o talk about pubic hair and find out was the
      student not having hair from medical issue or laser or other method to do this when students was
      dressed. And if he found someone who might have a good procedure that could be recommended to
      other students he would phrase it this way.

      He understood

      Then reviewed this case:

      Friday 4/30/2010 email to comments on web site:

      Comments: Hi - I was a student/patient there from 2003 - 2005 . I came to t he clinic once to speak with
      my doctor as I had some sexual issues that were bothering me. I was unable to orgasm. This doctor was
      a man. I don't remember his name but I remember what he looked like. He told me of kegel exercises
      and t old me to lay down and he would show me.

      He put an ungloved finger in my vagina and told me to sq ueeze. No nurse was in the room and he was
      not wearing a glove.

      Now older and wiser I see that this was horribly wrong and a blatant case of abuse .

      I think you should open my file up, find out which doctors I saw and report this to the person in charge
      in case this man is still working there. He may be doing worse things to other girls.

      If someone in charge is interested in looking into this t hey can contact me and I will give them my full
     name.




     6.27.2013: George remembered t his case as we discussed before and mentioned that this did not
     happen. I explained the process I went through in discussion with equity and diversity and that because
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       this was reported seven years after the fact and without a witness or similar complaints that there
       would not be an action on this.

       I then reviewed the case below

       April 26, 2013

       Angry student met with one of our staff to review a formal complaint: Tammie Akiyoshi nursing director
       met with student in a private office. She identified herself to me and gave me her USC ID number;
       however requested not to have her name in the formal complaint. Student began by stat ing she was
       "hesitant to come back" after her visit last year. When asked why, she stated she felt "very
       uncomfortable" and "not listened to" during her appointment with Dr. Tyndall. She went on to say that
       he "didn't actually do anything to me, but it was his tone and the way he was looking at me" that made
      her question if "maybe I imagined it?" and hence "that's why it took so long" to return. The student
      presented for UTI symptoms and after she was given the plan for treatment, she was told that she
      "shouldn't leave" and there was a few more minutes left in her appointment time. The student told Dr.
      Tyndall that she was late for an appointment and he responded "what is more important than your
      health?" He went on to state "are you sure you don't need a PAP smear?" and that he could "get (her)
      started at USC". The student replied that she had a PAP smear 2 months prior.

      He then discussed his "beautiful wife" who is a "Filapina", and that he did an "internship at Kaiser" and
      he finds "women so attractive" and he "really liked his job because he liked to help women". The
      student said these statements gave her the "sceevies" and I "never want to see him again."

      6.27.2103: Dr. Tyndall denied talking about his "beautiful wife". I explained that this was the
      observation of the student and mentioning issues of Race, looking nice, pubic hair etc in the context of a
      women's health visit is potentially viewed as inappropriate and harassment by the student. I adviced
      him to avoid these areas.




      On June 12, 2013 our clinical director of operations and myself interviewed all our nursing staff present
      at that t ime from Mas, to LVN to RNs regarding their obsrevations of all our clinical staff in women's
      health. How are we doing? What are they comfortable and uncomfortable with, any issues students
      had etc. We asked this about the entire women's health program and all providers involved. The feed
      back was mainly about one individual, dr. Tyndall. I reviewed this feed back with Dr. Tydall in t he
      context of improving appropriate comfort with th e students and avoiding anything that could make
      student uncomfortable and could be sexual or racial harassement.

      The major areas discussed w ith Dr. Tyndall today were:

      l} The comment about "beautiful wife" and "women are so attractive" listed above.
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       2) Other gynecologists here and elsewhere want me/MA to hold students hand and support the student
       through their anxiety, Dr. requests that Mas do not talk with the patient or support the patients'
      feelings.

      3) Door locking: Nursing st aff indicated t hat Dr. Tyndall locks the patients in his room during the office
      part of the exa m. I explained he should not be locking a door on a patient with him in room as t hat
      could make a patient feel very uncomfortable and vulnerable. He can lock his door when he leaves the
      room on break or lunch etc.

      4) I indicated that there were several students 3 in about 3 years said they don't want to see him back
      because of their being uncomforta ble with him. I indicat ed t hat some nursing staff found him t oo
      personal.   I mentioned of great concern was the comment below stated by one MA that happened
      three times:

      " Latinos are taking over and its going t o be a recognista (take over)
      Once to group of Mas one who said: isn't that racist"
      Once with MA and student: st udent said she w as stunned and f elt uncomfortable In exam room:

      Dr. Tynd all f elt he was stating something in the context of a student making an observation. I indicated
      that it is always inappropriate and potentially against USC policy to make a st atement like this to any
      student/patient.

      5) I reviewed the comment by a couple of students who were uncomfortable about being asked "how
      would you feel if I asked you t oday if you looked nice" would you think that is sexual harassment? One
      said : not offended, one said yes a slippery slope and thought this was very odd.
      I indicated that this was potentially crossing a line. He should always avoid discussing a patient's pubic
      hair unless in medical context and t heir appearance, like you look nice, or is it ok to say that.
      Better here as there are clean rooms and his office/exam was a disast er at old health center

      Survey passed out:

      Nurses felt he passed out surveys. He denies this and I have not seen one.

      Patient handouts:

      Nurses felt he passed out and zeroxed extensive handouts. Dr. Tyndall showed an example which was
      an ext ensive long page handout with consent signatures for OCPs. I indicated that we don't require
      consent but all forms like this need approval of our form committee same as also patient education
      material

      l ate policy: Nurses were concerned tha t he had his own late policy where he would talk to patient if
      they were late by phone across the hallway. I indicated he needed to meet with the student in person.
      indicated that he could do the same thing more effectively wit h face to face contact.
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       6.27.2013: I reviewed these comments again today and indicated t hat he needs to change this behavior.
       I indicated that for a couple of them I had to review the comment t o Equity and Diversity fo r their
       opinion and followup.

       I indicated I would:

       1} followup in by end of summer

       2} expect change

       3) review t he consent issue on OCPs with women's health committee and MPS

       I also advised him to go voluntarily for coaching on some of t hese issues with t he USC Center for Work
      and Family Life.

      George was not understanding all the issues and felt perhaps he should j ust not talk to patients. I
      indicated that is not what I meant. Talking and making someone com fortable is different that talking
      about race issues, or gender issues or looking pretty.

      He indicated that he would follow the recommendation on Center for Work and Family Life.




      Another meeting w ith GT and Bill on 7.17.2013

      Reviewed once again all of the prior issues. Dr. Tyndall in most cases f elt he was

      1) Great caring clinician

      2) these are isolated incidents and misunderstood.

      I explained that there have been incidents over the years and that between the stud ents and nursing
      staff there were concerns about his approach and language. I explained t hat he might connect with 90%
      or 95% of his patients, but t here is a group that is concerned about his approach. I explained the
      serio usness of some of his statements. I explained that the equity and diversity issues would be dealt
      with by that department and t hat he is w elcome to express any concerns he has to that office. He
      stated that he would comply with not locking his doors with patients, not having unapproved patient ed
      material or consent forms passed out. I explained that our conversations should be condential. I
      indicated that he should avoid all comments that could sound racist or sexist or potentially harassing. I
      indicated that while I advised him to get coaching in this area with Center for Work and family life, this
      was his choice. He decline. He indicat ed that my repeat review of these topics would suffice at moment
      and th at w e should revisit this in our discussed 2-3 months.
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       Following this meeting, he had req uested another hour with me alone to discuss his concerns with the
      other ·women's health professionals. I listened and indicated that this was not the format, but I was
      moving to having some peer reviews focus w ithin the providers that do womens healt h.
